 

CERTIFICATE OF GOOD STANDING

UNITED STATES OF AMERICA }
}ss.
NORTHERN DISTRICT OF GEORGIA }

|, James N. Hatten, Clerk of the United States District Court for the Northern District
of Georgia,

DO HEREBY CERTIFY that HARRY B. ROBACK, Georgia Bar No. 706790, was
duly admitted to practice in said Court on DECEMBER 22, 2014 , and is in good standing as a
member of the bar of said Court.

Dated at Atlanta, Georgia, this 27th day of May, 2021.

    

By:

 

Up/ q
‘CHERYL GOINS. 7/”
Deputy Cle NT

 

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